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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SILVER, et al.,                           )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )                   No. 1:19-cv-247-APM
                                          )
INTERNAL REVENUE SERVICE, et al.,         )
                                          )
      Defendants.                         )
_________________________________________ )


DEFENDANTS’ OPPOSITION TO REPUBLICANS OVERSEAS, INC.’S MOTION FOR
                   LEAVE TO FILE AMICUS BRIEF

       Republicans Overseas, Inc., along with several of its subchapters (collectively “ROI”),

move for leave to file an amicus curiae brief in this case in support of the Plaintiffs’ motion for

summary judgment. The Court should deny the motion. ROI fails to explain why its proposed

brief would provide a perspective different from what Plaintiffs already can and do offer, and the

close relationship between ROI and Plaintiffs’ counsel makes it even less likely that ROI would

provide a distinct perspective warranting a separate brief.

       It is solely within the Court’s discretion to allow or deny the participation of amici.

Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 136–37 (D.D.C. 2008). Local Civil Rule 7(o)

requires, among other things, that a motion for leave to file an amicus brief “set forth the reasons

why . . . the movant’s position is not adequately represented by a party.” This Court has

typically granted amici permission to file briefs when “‘a party is not represented competently or

is not represented at all, when the amicus has an interest in some other case that may be affected

by the decision in the present case,’” or in cases where “‘the amicus has unique information or

perspective that can help the court beyond the help that the lawyers for the parties are able to

provide.’” Jin v. Ministry of State Sec'y, 557 F.Supp.2d 131, 137 (D.D.C.2008) (quoting Ryan v.


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Commodity Futures Trading Comm’n, 125 F.3d 1062, 1064 (7th Cir.1997)). At the same time,

“In an era of heavy judicial caseloads and public impatience with the delays and expense of

litigation,” this Court has adopted Judge Posner’s observation that “judges should be assiduous

to bar the gates to amicus curiae briefs that fail to present convincing reasons why the parties’

briefs do not give [judges] all the help [they] need” to make the decision. See United States v.

Microsoft Corp., No. CIV.A.98-1232(CKK), 2002 WL 319366, at *2 (D.D.C. Feb. 28, 2002)

(quoting Ryan, 125 F.3d at 1064). And because an amicus is to be a “friend of the court,”

participating for the benefit of the court, it is appropriate to consider the partiality of a proposed

amicus, and to consider a “patently partisan” one to be less helpful. See Jin, 557 F. Supp. 2d at

136–37; Leigh v. Engle, 535 F. Supp. 418, 422 (N.D. Ill. 1982) (observing that while the role of

amicus in the appellate courts has moved from “friendship to advocacy,” the same shift “is not

proper in a trial court”).

        ROI fails to explain why it would offer anything distinct from Plaintiffs. It seeks to

advocate for the interests of expatriate American community of business owners. But these

interests are already represented by Plaintiff Silver, a self-described member of this very

community. See Am. Compl. at paras. 2, 3. Indeed, Silver not only states he is an expatriate

American business owner but one whose business is representing international clients with issues

relating to United States law. Id. In other words, there is a complete overlap between the

constituency on whose behalf ROI seeks to speak, and the constituency from and for which

Plaintiff Silver advocates.

        On top of that, Plaintiff’s current counsel, Mr. Zell, is general counsel and an executive

team member of ROI. ROI preemptively acknowledges this in its motion in an attempt to draw

the poison, but then states that Mr. Zell will not participate in preparing the amicus briefing.




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Dkt. no. 50. While this may be true going forward, it has not been true in the recent past.

Shortly before Mr. Zell filed an appearance as counsel for Mr. Silver, Mr. Zell corresponded

with the Government about submitting an ROI amicus brief and sent a lengthy email on this

point only ten days before his name appeared as Plaintiffs’ new counsel on the summary

judgment filing. See Ex. A (emails between Zell and Government counsel).

       Despite ROI’s assurances to the contrary, Mr. Zell’s very recent connection with ROI’s

request for amicus participation strongly suggests that ROI’s amicus brief would veer into the

duplicative and the “patently partisan.” Indeed, given the nature of ROI and, on top of that, the

role of Mr. Zell in this case, ROI’s proposed brief is likely to be nothing more than extra pages,

and an echo chamber, for Plaintiffs’ position. Thus, ROI’s motion should be denied.




DATED: May 26, 2020

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                                              Principal Deputy Assistant Attorney General


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                               CERTIFICATE OF SERVICE

      I hereby certify that on this May 26, 2020, I electronically filed the foregoing opposition

memorandum with the Clerk of the Court using the CM/ECF system.


                                                    /s/ Nishant Kumar
                                                    NISHANT KUMAR




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